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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 19-20674-CR-GA YLES


    UNITED STATES OF AMERICA

    v.

    BORIS ARENCIBIA,

                           Defendant.
    -----------------I
                                          PLEA AGREEMENT

           The United States of America and Boris Arencibia (hereinafter referred to as the

    Adefendant@) enter into the following agreement:

           1.      The defendant agrees to plead guilty to Count 3 of the Sixth Superseding

    Indictment, which count charges him with money laundering conspiracy, in violation of Title 18,

    United States Code, Section 1956(h).

           2.      The United States agrees to seek dismissal of the remaining counts of the

    indictment, as to this defendant, after sentencing.

           3.      The defendant is aware that his sentence will be imposed by the court after

    considering the Federal Sentencing Guidelines and Policy Statements (hereinafter ASentencing

    Guidelines@). The defendant understands that the court will determine his advisory sentence

    range under the Sentencing Guidelines, by relying in part on a Pre-Sentence Investigation

    conducted by the court=s Probation Office after his guilty plea has been entered. The defendant

    further understands that the court is required to consider the Sentencing Guidelines advisory
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    range, but is not bound to impose that sentence; the court is permitted to decide his sentence based

    upon other statutory concerns, and his sentence may be either more severe or less severe than the

    Sentencing Guidelines= advisory range. Knowing these facts, the defendant understands that the

    court has the authority to impose any sentence within and up to the statutory maximum authorized

    by law for the offense identified in paragraph 1 and that the defendant may not withdraw his plea

    solely as a result of the sentence imposed.

           4.      The defendant understands and acknowledges that the court may impose a statutory

    maximum term of imprisonment of up to 20 years, followed by a term of supervised release of up

    to 3 years. In addition to a term of imprisonment and supervised release, the court may impose a

    fine of up to $500,000, or twice the value of the funds involved in the offense.

           5.      The defendant understands that, in addition to any sentence imposed under

    paragraph 4 of this agreement, a special assessment in the amount of $100 will be imposed. The

    defendant agrees that the special assessment shall be paid at the time of sentencing.

            6.     The United States reserves the right to inform the court and the probation office of

    all facts pertinent to the sentencing process, including all relevant information concerning the

    offenses committed, whether charged or not, as well as concerning the defendant and his

    background. Subject only to the express terms of any sentencing recommendations contained in

    this agreement, the United States further reserves the right to make any recommendation as to the

    quality and quantity of punishment.

            7.     The United States and the defendant jointly agree to recommend that the defendant

    be held accountable for offense conduct involving a loss amount of $7.3 million, for the purpose


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    of sentencing guidelines computations.       The parties jointly recommend that the following

    guidelines be applied to the sentencing guidelines computations:

           §2S 1.1 (a)(l ), cross-referencing to §2B 1.1 (a)(2), Base Offense Level:            6
           §2B 1.1 (b)(I )(J), Loss amount of $7 .3 million                                    18
           §2B1.l(b)(8)(A), Offense conduct involving 18 USC §670                               2
           §2S 1.1 (b)(2)(B), Conviction under 18 USC § 1956                                    2

                                                                                               28
           Acceptance                                                                          -3
           Zero-point offender, §4C 1.1 (if appliable)                                         -2

           Adjusted Offense Level                                                               23

                     Sentencing Range: 46 to 57 months, for criminal history Category I.


           8.        The parties agree that no adjustments for sophisticated laundering, for obstruction

    of justice, or for role adjustment are warranted for this defendant, and recommend that they not be

    applied.

           9.        The United States agrees that no additional indictments will be filed against the

    defendant in the Southern District of Florida based upon any conduct known to federal law

    enforcement as of the date of the defendant's plea. The exception to this is a case being handled

    by the Health Care Fraud unit of the Department of Justice (DOJ), which will be filed in the

    Southern District of Florida, and which defense counsel has discussed with the DOJ Attorney

    assigned to that case. The parties will recommend that the sentences in this case and the DOJ

    case be run concurrently.

               10.   The United States agrees to recommend at sentencing that the court reduce by two

    levels the sentencing guideline level applicable to the defendant=s offense, pursuant to Section


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    3E 1.1 (a) of the Sentencing Guidelines, based upon the defendant=s affirmative and timely

    acceptance of personal responsibility for his offense. If the defendant=s guideline range is level 16

    or above, the United States will move for an additional one-level reduction pursuant to Sentencing

    Guideline Section 3El .1 (b). However, the United States will not be required to make this motion

    or these recommendations if the defendant: ( 1) fails or refuses to make a full, accurate and

    complete disclosure to the Probation Office of his relevant offense conduct; (2) is found to have

    misrepresented relevant facts to the government prior to entering into this plea agreement; or (3)

    commits any misconduct after entering into this plea agreement; including but not limited to

    committing a state or federal offense, violating any term of release, or making false statements or

    misrepresentations to any government entity or official.

            11.    The United States will recommend a sentence within the guideline range, most

    likely at the high end, 57 months. The defendant agrees that he will not ask for any sentence

    below the middle of the range that the parties are recommending, which is 51 months.

            12.     The defendant agrees, in an individual and any other capacity, to forfeit to the

    United States, voluntarily and immediately, any right, title, and interest to any property

    constituting, or derived from, any proceeds obtained, directly or indirectly, as the result of a

    violation of21 U.S.C. § 963, and any property used or intended to be used, in any manner or part,

     to commit, or to facilitate the commission of, such violation, pursuant to 21 U.S.C. § 853, as made

     applicable by 21 U.S.C. § 970.                                                                         1?r
            13.     The defendant further agrees that forfeiture is independent of any assessment, fine,

     cost, restitution, or penalty that may be imposed by the Court. The defendant knowingly and


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    voluntarily agrees to waive all constitutional, legal, and equitable defenses to the forfeiture,

    including excessive fines under the Eighth Amendment to the United States Constitution. In

    addition, the defendant agrees to waive: any applicable time limits for administrative or judicial

    forfeiture proceedings, the requirements of Fed. R. Crim. P. 32.2 and 43(a), and any appeal of the

    forfeiture.

            14.    The defendant also agrees to fully and truthfully disclose the existence, nature, and

    location of all assets in which the defendant has or had any direct or indirect financial interest or

    control, and any assets involved in the offense[s] of conviction. The defendant agrees to take all

    steps requested by the United States for the recovery and forfeiture of all assets identified by the

    United States as subject to forfeiture. This includes, but is not limited to, the timely delivery upon

    request of all necessary and appropriate documentation to deliver good and marketable title,

    consenting to all orders of forfeiture, and not contesting or impeding in any way with any criminal,

    civil or administrative forfeiture proceeding concerning the forfeiture.

            15.    The parties agree that there is no identifiable victim to whom restitution 1s

    applicable.

            16.    The defendant understands that ifhe is not United States citizen, his conviction for

    this offense may result in his probable or mandatory removal or deportation from the United States

    at the expiration of his term of imprisonment. Removal and deportation proceedings are entirely

    separate matters from this case, and neither the court nor counsel for either party can be certain of

    the effect on the defendant=s immigration status of his guilty plea. The defendant nevertheless

    affirms that he wants to plead guilty even if this results in his automatic removal and exclusion


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    from the United States.

            17.    The defendant is aware that his sentence has not yet been determined by the court.

    The defendant also is aware that any estimate of the probable sentencing range or sentence that he

    may receive, whether that estimate comes from his attorney, the government, or the Probation

    Office, is a prediction, not a promise, and is not binding on the government, the Probation Office,

    or the court. The defendant further understands that any sentencing recommendations that either

    the Government or the defendant makes to the court, or that the parties jointly make, whether

    pursuant to this agreement or otherwise, is not binding on the court and the court may disregard

    the recommendation in its entirety. The defendant understands that he may not withdraw his

    guilty plea even if the court declines to accept any motions or recommendation made on his behalf.

            18.    This is the entire agreement and understanding between the United States and the

    defendant. There are no other agreements, promises, representations, or understandings.


                                                 MARKENZY LAPOINTE
                                                 UNITED STATES ATTORNEY


    Date:   (-2-tf- -io'ZJ                By:       ~ f t ~.
                                                 FRANK H. TAMEN
                                                 ASSIST ANT UNI ED STATES ATTORNEY


                                          By:     ~'--~




    Date / }   Ll/V
                                                  DEFENDANT

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